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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 23-mc-24133-MOORE/ELFENBEIN

  In Re Application of

  RAFAELLA GOUVEIA, as Executor of
  the Estate of Danielly Gouveia,

         Applicant,

  Pursuant to 28 U.S.C. § 1782
  for Judicial Assistance in Obtaining
  Evidence for Use in a Foreign Proceeding.
  _____________________________________/

                      ORDER GRANTING AXXION GROUP 21, LLC,
                2601 COLLINS AVE CORP., AND BLACK BADGE, CORP.’S
               UNOPPOSED MOTION TO FILE THEIR REPLY UNDER SEAL

         THIS CAUSE came before the Court upon Respondents’, Axxion Group 21, LLC, 2601

  Collins Ave Corp., and Black Badge, Corp. (“Respondents”), Unopposed Motion for Leave to File

  Reply in Support of their Motion to Vacate the November 14, 2023 Order Granting the Estate of

  Danielly Gouveia’s 28 U.S.C. § 1782 ex parte Application Under Seal, ECF No. [25] (the

  “Motion”).

         On October 27, 2023, Applicant, Rafaella Gouveia, as Executor of the Estate of Danielly

  Gouveia Guedes Loureiro (“Applicant”), filed an ex parte Application for Judicial Assistance in

  Obtaining Evidence for Use in a Foreign Proceeding pursuant to 28 U.S.C. § 1782, ECF No. [1]

  (the “Application”), which this Court granted on November 14, 2023, ECF No. [5].

         Thereafter, on January 12, 2024, Applicant filed an Unopposed Motion to Restrict Access

  to Information, seeking to limit public access to certain information in the Application pursuant to

  a sealing order entered by a Brazilian court, ECF No. [6], which this Court granted on January 16,

  2024, ECF No. [8].
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          On January 18, 2024, Respondents filed an unopposed motion seeking leave to file their

  Motion to Vacate the November 14, 2023 Order under seal, ECF No. [11], which the Court granted

  on January 19, 2024, ECF No. [12]. On February 16, 2024, Applicant similarly filed an unopposed

  motion, requesting leave to file her Response to the Motion to Vacate under seal, ECF No. [20].

  The Court granted that motion on February 20, 2024, ECF No. [21].

          In the instant Motion, Respondents seek leave to file and seal their Reply in support of the

  Motion to Vacate and for an extension of time to file the Reply pending this Court’s ruling on the

  instant Motion. The Court has considered the Motion and the pertinent portions of the record and

  is otherwise fully advised in the premises. Based on the information provided and considering the

  totality of the circumstances, including that the Motion is unopposed, the Court finds good cause

  for the relief sought.

          Accordingly, it is hereby ORDERED and ADJUDGED that Respondents’ Motion, ECF

  No. [25], is GRANTED as follows:

      1. Respondents are authorized to file UNDER SEAL their Reply in support of the Motion to

          Vacate the Court’s November 14, 2023 Order Granting the Estate of Danielly Gouveia’s

          28 U.S.C. § 1782 ex parte Application in accordance with Local Rule 5.4. The Clerk

          SHALL maintain such filing under seal and not otherwise make such document public

          until such time as this case concludes or unless permitted by order of the Court.




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        2. Respondents SHALL have two (2) business days from the entry of this Order in which to

           file their Reply in support of the Motion to Vacate under seal in accordance with the

           foregoing.

           DONE and ORDERED in Chambers in Miami, Florida, on March 20, 2024.




                                                     _____________________________________
                                                     MARTY FULGUEIRA ELFENBEIN
                                                     UNITED STATES MAGISTRATE JUDGE

  cc:      Counsel of Record




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